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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

 TATUM ROBERTSON and EVE
 BRENNAN, individually and on behalf
 of all those similarly situated,

        Plaintiffs,
 v.                                          Case No. 22-cv-836-HE




 UNIVERSITY OF CENTRAL
 OKLAHOMA and BOARD OF
 REGENTS FOR THE REGIONAL
 UNIVERSITY OF OKLAHOMA,
 Defendants.

          ORDER GRANTING FINAL APPROVAL OF CLASS ACTION
       SETTLEMENT AND APPROVING SETTLEMENT AGREEMENT

      On February 16, 2024, the parties to this class action filed a Joint Motion for (1)

Class Certification; (2) Preliminary Approval of Class Action Settlement; (3) Approval of

Proposed Class Notice; and (4) Scheduling of Fairness Hearing. (Doc. #45). On March

25, 2024, the Court held a hearing on the parties’ Joint Motion. On April 5. 2024, the

Court entered an Order certifying a class for settlement purposes, preliminarily approving

the parties’ proposed Class Action Settlement Agreement, approving the class notice, and

scheduling a Fairness Hearing. (Doc. #51).

      Based on the parties' written submissions, previously submitted evidence, the

representations of counsel at the Fairness Hearing, and upon the absence of objections

from class members, the Court finds that the proposed settlement embodied in the Class




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Action Settlement Agreement is fair, reasonable, and adequate for the reasons stated on

the record.

        Therefore, the Court hereby ORDERS as follows:

        1.     The proposed Class Action Settlement Agreement (Doc #45–2) is

APPROVED and is hereby entered as an Order of the Court. Counsel for the parties are

directed to submit a fully-executed Class Action Settlement Agreement to the Court no

later than July 10, 2024. The Court will enter the executed agreement on the docket.

        3.     The Court shall retain jurisdiction over this matter for the purpose of ensuring

that the Class Action Settlement Agreement is implemented according to its terms. In the

event of any dispute concerning the interpretation or implementation of the Class Action

Settlement Agreement that cannot be resolved among the parties, counsel may notify the

Court, and the Court will take appropriate action.

        4.     Count II of Plaintiffs Complaint is hereby dismissed with prejudice.

        5.     Pursuant to Paragraph 26 of the Class Action Settlement Agreement, the

Court will separately determine and award Plaintiffs their reasonable costs and attorneys’

fees.

        6.     Absent further order of the Court, the Class Action Settlement Agreement

shall remain in effect through July 31, 2028.

        IT IS SO ORDERED.

        Dated this 1st day of July, 2024.




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